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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

     KIERRA THOMAS, ET AL                                             CIVIL ACTION
     VERSUS                                                           NO:   18-4373
     RANDALL CHAMBERS, ET AL                                          SECTION: “R” (4)
                                             ORDER
        Before the Court is a Motion to Quash and for Protective Order (R. Doc. 38), filed by

specially-appearing parties Medport LA and Sean Alfortish, seeking to quash a corporate

deposition subpoena issued by the Defendant’s under Rule 30(b)(6), for a protective order under

Rule 26(c), and for sanctions against the Defendants. The motion is opposed. R. Doc. 44. The

motion was heard with oral arguments on February 27, 2019. For the following reasons, the motion

is GRANTED IN PART and DENIED IN PART.

I.      Background

        Due to extensive motion practice in this case, the background facts have been set forth in

previous orders. Therefore, the Court will forego providing a summary of the background facts,

and instead will provide the facts pertinent to the motion at hand.

        On April 6, 2018, the Plaintiffs, Kierra Thomas, Shirley Harris, and Antoine Clark, filed a

personal injury lawsuit for a motor-vehicle collision against Defendants Randall Chambers, God’s

Way Trucking, LLC, and Canal Insurance Company (collectively “the Defendants”) in the Civil

District Court for the Parish of Orleans, Louisiana. R. Doc. 1. On April 27, 2018, the Defendants

removed the case to the United States District Court for the Eastern District of Louisiana. Id.

        The Defendants now assert that the accident did not occur or was staged, and that more

than 30 other automobile collisions involving the Plaintiffs’ relatives/associates exist with similar

factual scenarios. R. Doc. 44. p, 2. The Defendants further claim that connections between the


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cases exist, including common medical financing companies such as Medport, LA (“Medport”).

Id. at p. 4. Medport is organized under Nevada law and its headquarters is located in Las Vegas,

Nevada. R. Doc. 38-1, p. 3. Further, Medport purchased certain accounts receivable from medical

providers that treated Harris and Clark after the collision. Id. Medport also purchased payment

accounts from Total Medical Concepts, LLC (“TMC”) for Thomas and Harris. Id.

         On November 29, 2018, the Defendants served a corporate deposition subpoena under

Federal Rule of Civil Procedure 30(b)(6) on Sean Alfortish (“Alfortish”), an independent

contractor/sales representative of Medport. Id. at p. 4, 5. The subpoena was served on Alfortish

“individually and in capacity as a representative of Medport LA” and commanded Mr. Alfortish

to appear for a deposition in New Orleans, Louisiana on February 19, 2019. R. Doc. 38-1, p. 4.;

see R. Doc. 38-2, p, 1.

        On February 12, 2019, Medport and Alfortish filed a motion to quash the deposition

subpoena, claiming that the subpoena did not comply with Rule 30(b)(6) for the following reasons:

(1) the Defendants do not describe with particularity the matters for examination; (2) the

Defendants do not have the right to unilaterally select Alfortish as Medport’s corporate

representative; and (3) Alfortish was not the correct person to receive service for Medport. 1 R.

Doc. 38, p. 1-2. Additionally, Medport contends that the subpoena is procedurally deficient

because a witness and mileage fee was not tendered to Mr. Alfortish upon service in accordance

with Rule 45(b). Id.




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           Medport and Alfortish also contend that the subpoena at issue is one of seven subpoenas issued by the
Defendants for this case (and roughly the twenty-third subpoena issued to Medport in the last two months for three
other personal injury cases pending in this Court) R. Doc. 38, p. 1-2.

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           Medport and Mr. Alfortish also contended that the corporate deposition must be in or

around Las Vegas, Nevada, and the information sought in the subpoena is not proportional to the

needs of the case and is unduly burdensome. Id.

           Medport and Alfortish further requested a protective order to prohibit Alfortish from

testifying “individually and in capacity as a representative of Medport LA,” and to prevent the

Defendants from issuing further subpoenas. Id. Moreover, also requests sanctions against the

Defendants and their counsel, including attorney’s fees, lost earnings, and costs for failing to avoid

undue burden or expense under Rules 26 and 45. Id. at p. 2.

           The Defendants filed an opposition on February 19, 2019, claiming that the motion is moot

because they voluntarily withdrew their request for a Rule 30(b)(6) deposition prior to the filing

of the motion at issue (on the day that the motion was filed), and that the only remaining issue is

whether the deposition of Mr. Alfortish in his individual capacity should proceed. R. Doc. 44, p.

1, n. 2.

II.        Standard of Review

           Federal Rule of Civil Procedure 30(b)(6) provides: “In its notice or subpoena, a party may

name as the deponent a public or private corporation, a partnership, an association, a governmental

agency, or other entity and must describe with reasonable particularity the matters for

examination.” The rule further states: “The named organization must then designate one or more

officers, directors, or managing agents, or designate other persons who consent to testify on its

behalf; and it may set out the matters on which each person designated will testify. A subpoena

must advise a nonparty organization of its duty to make this designation. The persons designated

must testify about information known or reasonably available to the organization.” Fed. R. Civ. P.

30(b)(6).



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III.    Analysis

        A. The Defendants’ Improper 30(b)(6) Deposition Notice

        Medport contends that the Defendants improperly served the 30(b)(6) corporate deposition

subpoena for the following reasons: (1) Mr. Alfortish was not the correct person to receive service

for Medport; (2) the Defendants do not have the right to unilaterally select Mr. Alfortish as

Medport’s corporate representative; (3) the Defendants do not describe with particularity the

matters for examination; and (4) the subpoena is procedurally deficient because a witness and

mileage fee was not tendered to Mr. Alfortish upon service in accordance with Rule 45(b). R. Doc.

38, p. 1-2.

        Medport further contends that the Defendants “plainly seek” to obtain corporate testimony

from Medport, given that the Subpoena is directed to Alfortish “individually and in capacity as a

representative of Medport.” Id. at p. 1.

        The Defendants contend that the motion should be denied as moot because the Defendants

verbally withdrew the subpoena on February 12, 2019, when they called Medport to state that they

only wanted to depose Alfortish in his individual capacity. The Defendants further argue that the

only issue before the Court is whether Alfortish should be deposed in his individual capacity. Id.

        The Court holds that the Defendants did not comply with Rule 30(b)(6). The Defendants

did not name Medport as the deponent and “describe with reasonable particularity the matters for

examination.” Fed. R. Civ. P. 30(b)(6). Rather, the Defendants named Alfortish as the deponent

and stated that they wished to depose him “individually and in capacity as a representative of

Medport LA.” This is wholly improper and Medport is correct that the Defendants do not have

the right to unilaterally select Alfortish as their corporate representative.




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       Additionally, although the Defendants contended in their pleadings and during oral

arguments that they withdrew the subpoena via a telephone conversation with Medport on the day

the motion was filed, the Defendants did not provide or send any written correspondence stating

that the subpoena at issue was in fact withdrawn. The Court finds that the Defendants did not

effectively withdraw the subpoena. Accordingly, the Court grants Medport and Alfortish’s Motion

to Quash.

       B. Alfortish’s Request for Attorney’s Fees and a Protective Order

       Medport requested a protective order pursuant to Rule 26(c) that forbids Alfortish’s

deposition and precludes Defendants from issuing any future subpoenas to Medport in this case.

Medport argues that they have incurred a substantial burden based on the number of subpoenas

that have been issued to them by the Defendants (seven subpoenas in this case, and twenty-three

subpoenas in three other personal injury cases pending in this Court). Medport also requested

attorneys’ fees and costs pursuant to Rule 26(c)(3), and sanctions pursuant to Rule 45(b) for the

Defendants’ failure to avoid undue burden/expense.

       The Defendants contend that most of the subpoenas mentioned were issued in separate

lawsuits involving different defendants and plaintiffs. R. Doc 44, p. 15. However, in this litigation,

the Defendants contend that they only essentially issued three subpoenas to Medport – one for

each plaintiff. Id. at p. 14. Additionally, the Defendants contended during oral arguments that,

because they attempted to withdraw the subpoena prior to the filing of the motion, they should not

be sanctioned and/or ordered to pay attorney’s fees and costs.

       Rule 26(c) governs the issuances of Protective Orders in discovery. Santos-Lemos v.

Tasch, LLC, 313 F. Supp. 3d 717, 719–20 (E.D. La. 2018). A Court may “for good cause, issue an

order to protect a party or person from annoyance, embarrassment, oppression, or undue burden



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or expense.” Fed. R. Civ. P. 26(c)(1); See Santos-Lemos, 313 F. Supp. 3d at 719–20. The rule

offers a variety of potential options that the Court may use to protect the moving party. Fed. R.

Civ. P. 26(c)(1)(A)-(H); 313 F. Supp. 3d at 719–20. “The party seeking the protective order bears

the burden to show ‘the necessity of its issuance, which contemplates a particular and specific

demonstration of fact [.]’” 313 F. Supp. 3d at 719–20 (quoting Cazaubon v. MR Precious Metals,

LLC, 14–2241, 2015 WL 4937888, at *2 (E.D. La. Aug. 17, 2015) (quoting In re Terra Int'l, 134

F.3d 302, 306 (5th Cir. 1998))).

         The   trial   court   enjoys   wide     discretion   in   setting   the    parameters    of

a protective order. See Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36, 104 S.Ct. 2199, 81 L.Ed.2d

17 (1984) (“To be sure, Rule 26(c) confers broad discretion on the trial court to decide when

a protective order is appropriate and what degree of protection is required.”); 313 F. Supp. 3d at

720. Finally, Rule 26(c)(1) requires a certification that the moving party has conferred or attempted

to confer in good faith with the other affected party to attempt to resolve the issue without the

court's interference. Id.

         First, Medport and Alfortish have included a Rule 26 certificate. Further, on the day that

the motion was filed, the parties discussed the subpoena, the alleged withdrawal of the subpoena,

and whether the deposition of Alfortish as an “individual” should proceed. Accordingly, the Court

finds that Medport and Alfortish have met Rule 26(c)’s requirements for requesting a protective

order.

         Second, regarding Medport’s request for a protective order to prevent the Defendants’ from

issuing future subpoenas to it in this case, the Court cannot issue a protective order against

prospective subpoenas. Third, regarding Medport’s request for a protective order to prevent




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Alfortish from testifying as Medport’s corporate representative, the subpoena has been quashed

due to the Court’s Order. Accordingly, Medport’s request for a protective order is DENIED.

        Regarding Medport and Alfortish’s request for attorney’s Fees, Rule 37(a)(5)(A) (via Rule

26(c)(3)) provides: “If the motion is granted--or if the disclosure or requested discovery is provided

after the motion was filed--the court must, after giving an opportunity to be heard, require the party

or deponent whose conduct necessitated the motion, the party or attorney advising that conduct, or

both to pay the movant’s reasonable expenses incurred in making the motion, including attorney’s

fees. But the court must not order this payment if: (i) the movant filed the motion before attempting

in good faith to obtain the disclosure or discovery without court action; (ii) the opposing party's

nondisclosure, response, or objection was substantially justified; or (iii) other circumstances make

an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(A).

        In determining substantial justification, the Supreme Court has clarified that “substantially

justified does not mean ‘justified to a high degree.’ Rather, it means justified in substance, or that there

is a genuine dispute.” Covad Commc’ns Co. v. Revonet, Inc., 262 F.R.D. 1, 4 (D.D.C. 2009) (quoting

Pierce v. Underwood, 487 U.S. 552, 565 (1988)); see Mr. Mudbug, Inc. v. Bloomin’ Brands, Inc., No.

CV 15-5265, 2017 WL 448575, at *4 (E.D. La. Feb. 1, 2017).

        Having already determined that Medport and Alfortish made a good faith attempt to resolve

the dispute without court intervention, the Court will address the second and third factors. Regarding

substantial justification, the Court finds that there was a genuine dispute as Medport contended that,

despite the Defendants’ representations of wanting to depose Alfortish individually, the Defendants

were in fact attempting “back-door” a corporate deposition through Alfortish. Moreover, the Court

does not find that any other circumstances make the award of attorneys’ fees unjust. Therefore,

Medport and Alfortish’s request for attorneys’ fees and costs associated with the motion pursuant to

Rule 26(c)(3) and Rule 37(a)(5)(A) is GRANTED.


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          Regarding Medport’s request for sanctions under Rule 45, Rule 45 provides that, “[a] party

or attorney responsible for issuing and serving a subpoena must take reasonable steps to avoid

imposing undue burden or expense on a person subject to the subpoena. The court for the district

where compliance is required must enforce this duty and impose an appropriate sanction –which

may include lost earnings and reasonable attorney’s fees—on a party or attorney who fails to

comply.” Fed. R. Civ. P. 45(d)(1).

          Here, although the Court finds that an award of attorney’s fees and costs associated with

the Motion under Rule 37 is appropriate, the Court will decline to sanction the Defendants under

Rule 45 for lost earnings. Accordingly, Medport’s request for sanctions is DENIED.

IV.       Conclusion

          Accordingly,

          IT IS ORDERED that the Medport and Alfortish’s Motion to Quash and for Protective

Order (R. Doc. 38) is GRANTED IN PART and DENIED IN PART:

          IT IS GRANTED with respect to Alfortish’s 30(b)(6) deposition subpoena, and
          Alfortish’s 30(b)(6) deposition subpoena is hereby QUASHED.

          IT IS DENIED with respect to Medport and Alfortish’s request for a Protective Order.

          IT IS DENIED with respect to Medport and Alfortish’s request for sanctions under Rule
          45.

          IT IS GRANTED with respect to Medport and Alfortish’s request for attorney’s fees and
          costs under Rule 26 and Rule 37.

          IT IS FURTHER ORDERED that Medport and Alfortish shall have file a motion to fix

      attorney fees into the record by April 10, 2019, along with: (1) an affidavit attesting to its attorney’s

      education, background, skills and experience; (2) sufficient evidence of rates charged in similar

      cases by other local attorneys with similar experience, skill and reputation; and (3) the




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documentation required by Local Rule 54.2. Any opposition shall be filed no later than April 16,

2019. The motion shall be set for hearing on April 17, 2019, to be heard without oral argument.

                                           New Orleans, Louisiana, this 9th day of April 2019.




                                                  KAREN WELLS ROBY
                                       CHIEF UNITED STATES MAGISTRATE JUDGE




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